       Case 4:16-cr-00197-RGE-HCA Document 39 Filed 01/17/17 Page 1 of 1



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF IOWA

 UNITED STATES OF AMERICA,                                     4: 16-cr-197-RP-CFB

          Plaintiff(s),

 vs.

 JACOB TIMOTHY LATHROP,

          Defendant( s).

    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

       The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count(s) 2 of the Indictment. After cautioning and examining the Defendant

under oath concerning each of the subjects mentioned in Rule 11, I determined that the guilty

plea(s) was/were knowing and voluntary as to each count, and that the offense(s) charged is/are

supported by an independent factual basis concerning each of the essential elements of such

offense(s). There is no plea agreement. I, therefore, recommend that the plea(s) of guilty be

accepted, that a pre-sentence investigation and report be prepared, and that the Defendant be

adjudged guilty and have sentence imposed accordingly.




                                                 HELEN C. ADAMS
                                                 U.S. MAGISTRATE JUDGE

                                           NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
